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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TENNESSEE
                              EASTERN DIVISION



                                                    MDL Docket No. 1:22-md-03035-
     IN RE: AME CHURCH EMPLOYEE                     STA-jay
     RETIREMENT FUND LITIGATION
                                                    ALL CASES

                                                    Honorable S. Thomas Anderson




                       JOINT STATUS UPDATE IN ADVANCE OF
                       December 14, 2022 STATUS CONFERENCE

          At the initial status conference in this matter, the Court requested that the

 Parties provide a joint update on the status of litigation seven days before each status

 conference. [ECF No. 69]. In advance of the December 14, 2022 status conference, the

 Parties report as follows:

     I.   Procedural Overview Since the October 27, 2022 Status Conference

          As previewed during the last pre-status conference status update, Plaintiffs

 have been in the process of serving several individuals and entities with their

 amended complaint. They have engaged a private investigator to locate certain

 individuals associated with the Motorskills entities and as a result were recently able

 to obtain service on Jarrod Erwin and expect to obtain service soon on the remaining

 Motorskills related defendants. Plaintiffs are also still working to obtain effective

 service on Rodney Brown & Co.1 Specifically, the following individuals remain to be


 1   Plaintiffs seemingly obtained service on Rodney Brown & Co., but the green card was returned
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 served with the Plaintiffs’ Amended Complaint:

                                                       DATE SERVED WITH AMENDED
                 DEFENDANT
                                                               COMPLAINT
  Randall Erwin                                                     Not yet served
  Rodney Brown & Co.                                                Not yet served
  Motorskill Venture Group                                          Not yet served
  Motorskill Asia Venture Group                                     Not yet served


        In addition, two of the Motorskills entities have not answered or otherwise

 responded to Plaintiffs’ Amended Complaint and are now in default. Those entities

 are Motorskill Ventures I, L.P. (served September 19, 2022) and Motorskill Asia

 Ventures I, L.P. (served September 22, 2022).

        In response to Plaintiffs’ Amended Complaint, Newport Group, Inc. filed a

 motion to dismiss all claims against it under Rules 9(b) and 12(b)(6) of the Federal

 Rules of Civil Procedure. On the same date, the AMEC filed a partial motion to

 dismiss some of the claims against it (and related individuals and entities) under

 Rule 12(b)(6). Symetra Life Insurance Company timely filed its motion to dismiss

 under Rules 12(b)(1) and 12(b)(6) on October 10, 2022. Briefing on these motions to

 dismiss is complete.

        On October 18, 2022, the AMEC Defendants filed a partial Answer to the

 Amended Complaint and Cross-Complaint against Defendant Harris, Symetra

 Financial Corporation, Newport Group, Inc., Robert Eaton, Jarrod Erwin, Randall

 Erwin, Financial Freedom Group, Inc., Rodney Brown & Company, and the four



 without a date, so they are attempting to re-serve the amended complaint to confirm service was valid.


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 Motorskill Entities. On November 23, 2022, Dr. Jerome Harris, Robert Eaton, and

 Financial Freedom Group, Inc. filed their respective answers to that cross-complaint.

 On the same day, Symetra Financial Corporation filed a motion to dismiss under Rule

 12(b)(6) of the Federal Rules of Civil Procedure. Newport Group, Inc.’s response to

 the cross-complaint is due December 8, 2022. The remaining defendants have not yet

 been served with the cross-complaint.

  II.      Status of Discovery

           Discovery commenced on September 9, 2022, and the Parties were permitted

 to serve initial written discovery requests on that date. [ECF No. 78, p. 2]. The

 following discovery requests have been served to date:

         Party
                     Party Served With     Type of Request         Date Request
        Serving
                          Request              Served                 Served
        Request
        Plaintiffs      AME Church             Interrogatories    September 9, 2022
                                               Requests for
        Plaintiffs      AME Church             Production of      September 9, 2022
                                                Documents
        Plaintiffs   Dr. Jerome Harris         Interrogatories    September 9, 2022
                                               Requests for
        Plaintiffs    Dr. Jerome Harris        Production of      September 9, 2022
                                                Documents
                                               Requests for
        Plaintiffs   Newport Group Inc.        Production of      September 9, 2022
                                                Documents
        Plaintiffs   Newport Group Inc.        Interrogatories    September 9, 2022
                                               Requests for
                     Financial Freedom
        Plaintiffs                             Production of      September 9, 2022
                          Group
                                                Documents
                     Financial Freedom
        Plaintiffs                             Interrogatories    September 9, 2022
                          Group
        Plaintiffs      Robert Eaton           Interrogatories    September 9, 2022




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                                                  Requests for
        Plaintiffs       Robert Eaton             Production of      September 9, 2022
                                                   Documents
                         Symetra Life
        Plaintiffs                                Interrogatories    September 9, 2022
                      Insurance Company
                                                  Requests for
                         Symetra Life
        Plaintiffs                                Production of      September 9, 2022
                      Insurance Company
                                                   Documents
                       Bishop Samuel L.                                September 26,
        Plaintiffs                                Interrogatories
                            Green                                          2022
                                                  Requests for
                       Bishop Samuel L.                                September 26,
        Plaintiffs                                Production of
                            Green                                          2022
                                                   Documents
                                                                       September 26,
        Plaintiffs   Bishop James Davis           Interrogatories
                                                                           2022
                                                  Requests for
                                                                       September 26,
        Plaintiffs   Bishop James Davis           Production of
                                                                           2022
                                                   Documents


           Newport Group and Symetra Life Insurance Company timely served responses

 and objections to Plaintiffs’ requests for production and interrogatories on October

 18, 2022 (Newport) and October 10, 2022 (Symetra). Defendants are in the process

 of collecting and reviewing documents in response to Plaintiffs’ discovery requests.

 AMEC Defendants requested an extension of 60-days to serve formal discovery

 responses, to which Plaintiffs agreed, provided that AMEC Defendants prioritized

 informal production of “priority documents” that Plaintiffs identified as being

 necessary to move forward with an early mediation. AMEC Defendants are providing

 the majority of those requested documents to Plaintiffs today. Plaintiffs have not

 received any documents from any other party as of today.

 III.      Third-Party Subpoenas

           Since the date of the last status conference Plaintiffs have engaged in third-




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 party discovery. Specifically, they have sent four subpoenas requesting document

 production   for   service   to   date   and   are   in   discussions   with   additional

 entities/individuals to determine what relevant documents those individuals may

 also have. The subpoenas were sent to the following: Dr. Richard Lewis (the retired

 CFO/treasure for AMEC); an entity that Motorskills invested in and Dr. Harris

 allegedly loaned retirement fund assets to called Day & Night Solar; and two entities

 engaged in the auditing of the retirement fund after Dr. Harris’ retirement, Gregory

 Terrell Company and Hoskins & Company.

 IV.   Mediation

       As discussed at the last status conference, Plaintiffs, AME Church, the Eaton

 Defendants, Newport, Symetra, and Dr. Harris agreed to engage in an early

 mediation with the Hon. Justice Janice M. Holder (Ret.). At this time, no other

 defendants are willing to participate in the mediation process. That mediation is now

 scheduled for February 6, 2023.

  V.   Proposed Schedule for Future Status Conferences

       The Parties propose that the Court continue scheduling future status

 conferences approximately every sixty days, with a remote attendance option (either

 by telephone or video-conferencing) for parties that are unable or may not need to

 attend each status conference in person so as to limit the costs and burdens associated

 with attending each conference. The Parties propose the next status conference occur

 during the week of either February 20 or 27.




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 VI.   Conclusion

       The Parties appreciate the Court’s diligent management of this matter and

 welcome the opportunity to address any additional matters the Court would like to

 discuss at the December 14 status conference.

       Respectfully submitted this the 7th day of December 2022.

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